Hearing shall be held on 7/30/2018 at 10:00 AM in Austin Courtroom
1. Movant is responsible for notice.




IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: July 27, 2018

                                               ________________________________________
                                                            TONY M. DAVIS
                                                  UNITED STATES BANKRUPTCY JUDGE
______________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


In re                                            §
                                                 §
RONCO HOLDINGS, INC.,                            §            CASE NO. 18-10511-TMD
                                                 §
                       Debtor.                   §                   Chapter 11

                         ORDER SETTING STATUS CONFERENCE

        This matter comes before the Court on Ronco Holdings, Inc.’s Request for Status

Conference (the “Request”). The Court, having considered the Request, finds that it should be

granted on the terms set forth herein.

        ACCORDINGLY, IT IS HEREBY ORDERED that a status conference is set for the

date and time set forth above. The Debtor shall be responsible for notice to all necessary parties

and shall file a certificate of service reflecting such service of notice within 24 hours of entry of

this order.

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Order Submitted by:

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COUNSEL FOR THE DEBTOR




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